                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHEVILLE DIVISION


UNITED STATES OF AMERICA                        )       DOCKET NO. 1:08CR112
                                                )
                 vs.                            )       ORDER FOR DISMISSAL
                                                )
2)TIMOTHY RYAN BURKE                            )


          THIS MATTER is before the Court on the Government’s motion to dismiss the Bill of

Indictment herein, as it relates to Timothy Ryan Burke only, without prejudice.

          For cause shown,

          IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

the indictment as to Timothy Ryan Burke ONLY is hereby DISMISSED WITHOUT

PREJUDICE.

          The Clerk is directed to transmit this Order electronically to defense counsel, the United

States Attorney’s Office, the United States Marshal’s Service, and the United States Probation

Office.

                                                    Signed: October 23, 2008




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